         Case 1:18-cv-03309-PJM Document 221 Filed 02/22/19 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



FEDERAL TRADE COMMISSION,

                       Plaintiff,

v.                                                 No. 18 Civ. 3309 PJM

ECOLOGICAL FOX, LLC et al.,

                        Defendants.



  SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
             PUKKE’S MOTION TO UNFREEZE ASSETS

       Defendant Andris Pukke submits this supplemental memorandum of law in support of his

motion to unfreeze assets, filed on February 15, 2018 (ECF No. 207). As noted below, the Federal

Trade Commission Act, based on the most recent U.S. Supreme Court precedent, does not permit

financial penalties to be assessed against Mr. Pukke. It only authorizes entry of traditional

equitable relief. Because this Court’s asset freeze is to retain assets for purposes of ordering the

penalties of restitution and/or disgorgement, and because the Act does not authorize such penalties,

the asset freeze order must be immediately rescinded. In support of this position, Mr. Pukke

respectfully notes as follows:

     1. In his answer, Mr. Pukke raised the U.S. Supreme Court’s landmark decision in Kokesh

         v. SEC, 137 S. Ct. 1635, 1642-43 (2017). See ECF No. 175 at 22.

     2. Mr. Pukke again raised the same issues in his February 15, 2019 submissions to the Joint

         Pre-Hearing Order.

     3. Mr. Pukke submits this supplemental memorandum of law to augment the record prior

         to upcoming appearances before this Court.
   Case 1:18-cv-03309-PJM Document 221 Filed 02/22/19 Page 2 of 5



4. The FTC’s Amended Complaint seeks equitable relief under the Federal Trade

   Commission Act (the “FTC Act”). See Amended Complaint ¶ 7.

5. The equitable relief authorized by the Federal Trade Commission Act does not permit

   the Court to order that Defendants, including Defendant Pukke, make any financial

   payments called for by the FTC’s Amended Complaint, because such payments are

   penalties. The Supreme Court has determined that penalty payments are outside the

   scope of equitable relief. Kokesh, 137 S. Ct. at 1642-43.

6. A plain reading of Section 13(a) of the FTC Act supports the above-stated position. That

   provision provides in relevant part that “the Commission may seek, and after proper

   proof, the court may issue, a permanent injunction.” 15 U.S.C. § 53(b) (emphasis added).

   An injunction either compels action or compels inaction. But an order to pay money

   because of the breach of a legal duty is a damages remedy. Bowen v. Massachusetts, 487

   U.S. 879, 913-14 (1988).

7. The facts of this case support the proposition that any order requiring Defendant Pukke,

   or any other defendant, to pay money pursuant to the FTC Act can only be viewed as a

   penalty. The FTC’s Amended Complaint does not allege that consumers who purchased

   lots at The Reserve suffered any monetary losses due a decrease in lot values. To the

   contrary, Defendant Pukke’s expert, Professor Eric Sussman, recently visited The

   Reserve in Belize and interviewed local real estate brokers, among other techniques, as

   he has stated in his Preliminary Expert Report (ECF No. 173). Professor Sussman

   concludes that a one-acre lot in The Reserve is worth at least $800,000. Id. at 4.

   Therefore, based on the lot sales data included in the FTC’s exhibits (see Declaration of

   Aaron Kaufman, Exhibit 350 (2012 lot sales), Exhibit 185 (2013 data), Exhibit 351 (2014

   data) and Exhibit 352 (2015 data)) all lot values have increased. Where consumers have
                                          2
   Case 1:18-cv-03309-PJM Document 221 Filed 02/22/19 Page 3 of 5



   suffered no economic harm, any ordered financial payments would assuredly be

   categorized as a penalty. See Kokesh, 137 S.Ct. at 1642 (“…a pecuniary sanction

   operates as a penalty only if it is sought ‘for the purpose of punishment, and to deter

   others from offending in like manner’—as opposed to compensating a victim for his

   loss.” Id. (citations omitted). Therefore, because lot owners suffered no loss for which

   they may be compensated, any pecuniary awards ordered by this Court here would be

   designed to punish and therefore would qualify as a penalty under Kokesh.

8. Other portions of Section 13(b) of the FTC Act support this limited reading of the

   equitable relief permitted by the FTC Act. The statute provides that in order to obtain

   injunctive relief, the FTC must believe that a person is violating or is about to violate the

   FTC Act. 15 U.S.C. Section 53(b)(1). Therefore, Section 13(b) authorizes a court to

   award relief to prevent ongoing or future harm, but not to cure unjust gains from past

   violations. FTC v. Commerce Planet, Inc., 815 F.3d 593, 599 (9th Cir. 2016).

9. Because the current asset freeze is based on the improper assumption that a federal court

   is empowered to award penalties in the guise of equitable relief—which it is not—the

   asset freeze associated with the FTC’s request for a Preliminary Injunction should be

   eliminated.

10. In support of this supplemental memorandum of law, Mr. Pukke respectfully refers the

   Court’s attention to the following case law: FTC v. AMG Capital Management, LLC,

   910 F.3d 417, 429-39 (9th Cir. 2018) (specially concurring opinions of Judge

   O’Scannlain and Judge Bea). Appellants in that case have indicated an intent to file a

   petition for rehearing en banc in accordance with the recommendations of Judges

   O’Scannlain and Bea.



                                           3
 Case 1:18-cv-03309-PJM Document 221 Filed 02/22/19 Page 4 of 5



                                 CONCLUSION

For the foregoing reasons, we respectfully request that the freeze be lifted.



                                              Respectfully submitted,


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                                          4
         Case 1:18-cv-03309-PJM Document 221 Filed 02/22/19 Page 5 of 5



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I served the foregoing Motion, and related Proposed Order, on

the following people and entities by e-mail at the e-mail addresses listed:

   •   Jonathan Cohen, Ben Theisman, Amanda Kostner, and Khouryanna DiPrima, counsel for
       the Federal Trade Commission, at jcohen2@ftc.gov, btheisman@ftc.gov,
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                                                             _______/s/_____________________
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